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      Exhibit	  II
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  5000 Plaza on the Lake, Austin, TX to 501 W 5th St #1100, Austin, TX 78701                 Drive 12.7 miles, 18 min




                                                                               Map data ©2022 Google   2 mi



        via TX-360 Loop S                             18 min
        Best route now due to traffic               12.7 miles
        conditions

        via Ranch to Market 2222 E and                17 min
        TX-1 Loop S                                 11.1 miles




Explore 501 W 5th St #1100




Restaurants   Hotels    Gas stations Parking Lots     More
